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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         In re:                                                      Chapter 11

         MATTRESS FIRM, INC., et al.,1                               Case No. 18-12241 (CSS)

                                            Debtors.                 (Jointly Administered)

                                                                     Ref. Docket No. 772
                                                                     Objections Due: November 26, 2018 at 4:00 p.m. (ET)

                    NOTICE OF FILING OF DECLARATION OF DISINTERESTEDNESS
                   OF ORDINARY COURSE PROFESSIONAL FISH & RICHARDSON P.C.

                           PLEASE TAKE NOTICE that, on November 7, 2018, 2018, the United States

         Bankruptcy Court for the District of Delaware (the “Court”) entered the Order Authorizing the

         Debtors to Retain and Compensate Certain Professionals Utilized in the Ordinary Course of

         Business, Nunc Pro Tunc to the Petition Date (the “OCP Order”) [Docket No. 772].2

                           PLEASE TAKE FURTHER NOTICE that, in accordance with the procedures

         set forth in the OCP Order, the Debtors hereby file the Declaration of Disinterestedness of

         Fish & Richardson P.C., attached hereto as Exhibit A.

                           PLEASE TAKE FURTHER NOTICE that any objections to the retention of

         Fish & Richardson P.C. made by the Notice Parties must be filed with the Court, and at the same

         time served upon the Debtors, on or before November 26, 2018 at 4:00 p.m. (ET).




         1
            The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
           Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the OCP Order.
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         Dated: November 16, 2018        SIDLEY AUSTIN LLP
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                                                 -and-

                                         YOUNG CONAWAY STARGATT & TAYLOR, LLP

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